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     Attorneys for Plaintiffs
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 8
 9                                 UNITED STATES DISTRICT COURT
10                              NORTHERN DISTRICT OF CALIFORNIA
11
12   LUDMILA GULKAROV, JANINE
     TORRENCE, KELLY MCKEON and JOSH               Case No. 21-cv-00913-YGR
13
     CRAWFORD individually and on behalf of
14   all others similarly situated,                NOTICE OF WITHDRAWAL OF
                                                   COUNSEL
15                   Plaintiffs,
16
     v.
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     PLUM, PBC; and PLUM, INC., Delaware
18   corporations,
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                     Defendants.
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                         NOTICE OF WITHDRAWAL OF COUNSEL
              Case 4:21-cv-00913-YGR Document 56 Filed 04/27/21 Page 2 of 2




 1   TO: The Clerk of the Court and to All Parties and Counsel of Record:
 2          PLEASE TAKE NOTICE THAT Raina C. Borrelli is no longer an attorney at the law
 3   firm of Gustafson Gluek PLLC and is hereby withdrawn as Counsel. Ms. Borrelli should be
 4   removed from the Court’s service list with respect to this action. Plaintiffs will continue to be
 5   represented by Counsel of record from Gustafson Gluek PLLC, as well as by additional counsel
 6   for Plaintiffs, and all future correspondence and papers in this action should continue to be
 7   directed as such.
 8
 9   Dated: April 27, 2021                                 Respectfully submitted,
10                                                         /s/Daniel E. Gustafson
                                                           Daniel E. Gustafson
11
                                                           (appearing pro hac vice)
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16                                                         Counsel for Plaintiffs
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                         NOTICE OF WITHDRAWAL OF COUNSEL
